            Case 3:21-cv-01213-WGY Document 1 Filed 05/10/21 Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO



  HAYDEE RIVERA

     Plaintiff
                                                  CIVIL NO. 21-
     Vs.

  DDR CAYEY LLC; JOHN DOE CORP.                   PLAINTIFF DEMANDS
  and ABC INSURANCE COMPANY                       TRIAL BY JURY

     Defendants



                                       COMPLAINT

TO THE HONORABLE COURT:

       NOW COMES plaintiff, Haydee Rivera, through the undersigned attorney, and very

respectfully states, alleges and prays as follows:

                           I. JURISDICTION AND ALLEGATIONS

                                  COMMON TO ALL CLAIMS

       1.        Jurisdiction exists pursuant to 28 U.S.C. § 1332, in that the plaintiff, Haydee

Rivera, is a citizen of Puerto Rico; defendant DDR Cayey LLC, (“DDR”) is a limited

partnership company organized under the laws of the State of Ohio and with its principal

place of business in Ohio; John Doe Corp. is an individual or entity incorporated and with a

principal place of business in a state other than the Commonwealth of Puerto Rico;

defendant ABC Insurance Company is an insurance company organized and existing by

virtue of the laws of a state other than the Commonwealth of Puerto Rico, with its principal

place of business in a state other than the Commonwealth of Puerto Rico; and the amount

in controversy exceeds the sum of $75,000.00, exclusive of interest and costs.
             Case 3:21-cv-01213-WGY Document 1 Filed 05/10/21 Page 2 of 5




        2.      Plaintiff Haydee Rivera, is of legal age and a resident of Cayey, PR.

        3.      Defendant DDR Cayey, LLC, (hereinafter “DDR”) is the owner and/or operator

of a shopping center known as Plaza Cayey.

        4.      Defendant John Doe Corp. is the unknown name of an individual or entity

which may be liable to plaintiff as it owns and/or operates Plaza Cayey. Once his/its true

name and identity is ascertained, the corresponding amendments to this complaint will be

made.

        5.      Defendant ABC Insurance Co., is the unknown name of the insurance carrier

that as of the date of the facts averred herein had issued and maintained in full force and

effect a public liability policy on behalf of defendants DDR and/or John Doe Corp., which

provides defense and coverage for the facts alleged herein. Once its true name and

identity is ascertained, the corresponding amendment to this Complaint will be made.

                                           II. FACTS

        6.      On May 8, 2020, at approximately 8:30 am, Ms. Rivera went shopping with

her husband, Mr. Antonio Alamo to the Walmart store located in Plaza Cayey in Cayey, PR.

Due to Covid protective measures, she was not allowed to enter the Walmart store so she

proceeded to walk back to her car. As she proceeded to walk towards her vehicle, which

was parked on the shopping center’s parking lot, she tripped and fell on the street in front of

Walmart.

        7.      Immediately after the fall, Plaintiff realized that she had stumbled with a steel

safety bollard, located in the street, which protruded over the street level surface and was

of the same color as the street’s pavement, which made it difficult to discern as one walked



                                               -2-
             Case 3:21-cv-01213-WGY Document 1 Filed 05/10/21 Page 3 of 5




through the street.

        8.      As a result of the fall, Plaintiff began to feel strong pain throughout her body,

particularly to her neck, lower back and chest.           She had to be transported to the

Emergency Room of Hospital Menonita in Cayey, PR, where she received emergency

medical care, her chest and spine were x-rayed and she was initially diagnosed with

multiple traumas.

        9.      Notwithstanding the amount of medical treatment received, Ms. Rivera

remains with a partial permanent impairment, which limits her ability to perform her daily

living activities.

                                         III. LIABILITY

        10.     The injuries suffered by Ms. Rivera on May 8, 2021, were proximately caused

by the defendants’ negligence, who at the time of the occurrence of the facts alleged herein

failed to maintain the premises in a reasonably safe condition for the use of its customers

and visitors.

        11.     The injuries suffered by Ms. Rivera on May 8, 2021, were proximately caused

by the defendants’ negligence, who at the time of the occurrence of the facts created,

maintained and tolerated a safety hazard within the premises of Plaza Cayey, detrimental

to the well-being of visitors and patrons.

        12.     The injuries suffered by Ms. Rivera on May 8, 2021, were proximately caused

by the defendants’ negligence, who at the time of the occurrence of the facts created,

maintained and tolerated steel safety bollard on the street that protrudes on the surface and

is of the same color as the rest of the pavement, rather than painting it in a different color to



                                               -3-
          Case 3:21-cv-01213-WGY Document 1 Filed 05/10/21 Page 4 of 5




warn about its presence. As a result of these conditions, the steel safety bollard in question

constituted a safety hazard detrimental to the well-being of visitors and patrons.

        13.   The injuries suffered by Ms. Rivera on May 8, 2021, were proximately caused

by the defendants’ negligence, who failed to warn or otherwise alert the visitors and

customers about the dangerous conditions existing within the premises of Plaza Cayey.

        14.   Pursuant to the provisions of Articles 20.001 and 20.003 of the Insurance

Code of Puerto Rico, 26 L.P.R.A. §§ 2001 and 2003, defendant ABC Insurance Company

is directly liable to plaintiff for the damages suffered by their insureds’ negligent acts and/or

omissions.

                                        IV. DAMAGES

        15.   As a result of the negligent acts and/or omissions of the Defendants, Ms.

Rivera suffered damages throughout her body, but particularly to her cervical and lumbar

spine and chest. As a result thereof, she has required extensive medical treatment and

care.

        16.   As a result of the injuries caused by the negligent acts and/or omissions of the

Defendants, plaintiff Ms. Rivera continues to suffer pain, significant physical limitations and

a whole person impairment, which significantly impairs her activities of daily living.

        17.   As a result of the injuries caused by the negligent acts and/or omissions of the

Defendants, Ms. Rivera has suffered, and will continue to suffer, severe physical pain and

excruciating mental anguish, valued in the sum of $500,000.00.

        18.   Defendants have been obstinate and according to the laws of Puerto Rico,

they are not only liable for the payment of the principal claimed herein, but also for the



                                              -4-
         Case 3:21-cv-01213-WGY Document 1 Filed 05/10/21 Page 5 of 5




payment of interest accrued since the date of the filing of the complaint and for the payment

of attorneys’ fees.

                                    V. JURY DEMAND

       19.    Plaintiff demands trial by jury on all issues so triable.

       WHEREFORE, it is respectfully requested that this Honorable Court enter judgment

against Defendants, ordering them to pay to plaintiff the sums prayed herein, as well as to

pay a reasonable amount for attorneys’ fees, interest and the costs of this action.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 10th day of May 2021.

      I HEREBY CERTIFY that on this same day, I presented the foregoing to the Clerk of
the Court for filing and uploading to the CM/ECF system.

                                 s/Richard Schell-Asad
                       Richard Schell-Asad - USDC-PR No. 203207

                                s/José M. Carreras Pérez
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